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                                                                                                           FEB· 14 2018
                                                  UNITED STATES DISTRICT COURT                            U.S. DISTR.lCT COURT
                                                  EASTERN DISTRICT OF MISSOURI                          EASTERN DISTRICT OF MO
                                                                                                                ST. LOUIS
                                                        EASTERN DIVISION

      UNITED STATES OF AMERICA,                                       )
f
                                                                      )
                               Plaintiff,                             )
                                                                      )
      v.                                                              )
                                                                      )       4:18CR000139 RWS/JMB
      WILLIAM DOUGLAS HANING,                                         )
                                                                      )
                               Defendant.                             )

                                                             INDICTMENT

                          The Grand Jury charges that:

                                                                Count 1
                                                     (Conspiracy: 18 U.S.C. § 1349)

                          1.        Beginning sometime prior to July of 2007, the exact date being unknown to the

     Grand Jury, and continuing through October of 2014, in the Eastern District of Missouri, and

     elsewhere, the defendant,

                                                   WILLIAM DOUGLAS HANING,

     did knowingly and willfully combine, conspire, confederate and agree with others both known

    , ~d unknown to the Grand Jury, to commit various offenses defined in Title 18, United States

     Code, Part 1, Chapter 63, that is:

                                   a.       having knowingly devised and intending to devise a scheme· to defraud,

     and to obtain money and property by means of false and fraudulent pretenses, representations

    and promises, and for the purpose of executing and attempting to execute that scheme, did mail,
       ..........
       '.,

    cause tcrbe mailed, cause to be delivered by mail, and deposit and cause to be deposited matters
       .   .' ~   '   .

     and things to be sent and delivered by private and commercial interstate carriers, in violation of

    Title 18, United States Code, Section 1341; and
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                b.      having lrnowingly devised and intending to devise a scheme to defraud,

and to obtain money and property by means of false and fraudulent pretenses, representations

and promises, and for the purpose of executing that scheme, transmit and cause to be transmitted

by means of wire communication in interstate and foreign commerc~, writings, signs, signals,

pictures and sounds, in violation of Title 18, United States Code, Section 1343.

        2.      The allegations of Paragraphs 1through82 of Counts 2-31 of this fudictment are

re-alleged and incorporated by reference as if fully set forth herein, all in violation of Title 18,

United States Code, Section 1349 (Title 18, United States Code, Sections 1341 and 1343).

                                         COUNTS2-31
                                  (Wire Fraud: 18 U.S.C. § 1343)

        The Grand Jury further charges:

I.      INTRODUCTION AND OVERVIEW OF THE ADULTERATION SCHEME

        At all times material to this fudictment:

        1.      "Adulterated" pet food ingredients and products refer to food in which any

valuable constituent has been in whole or in part omitted; food in which any substance has been

substituted wholly or in part therefor; and food to which any substance has been added or mixed

so as to make it appear the food is better or of greater value than it is.

A.      Pet food ingredients and ·products generally

        2.     Food ingredients and products used in pet foods include chicken meal, chicken

meal (low ash), turkey meal, chicken by-product meal, and turkey by-product meal.

        3.     As understood in the feed and pet food industry,

               a.       chicken meal, chicken meal (low ash), and turkey meal are dry rendered

poultry products that do not contain feathers, heads, feet, and entrails;

               b.       chicken by-product meal and turkey by-product meal are dry rendered

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poultry products that do not contain feathers. Chicken by-product meal and turkey by-product

meal, however, include parts such as necks, feet, undeveloped eggs, and intestines;

               c.      blending is the process of mingling or combining two or more ingredients;

               d.      adding or blending feather meal or by-product meal or both to chicken

meal results in the product no longer being chicken meal;

               e.      adding or blending feather meal or by-product meal or both to chicken

meal (low ash) results in the product no longer being chicken rri.eal (low ash);

               f.      adding or blending feather meal or by-product meal or both to turkey meal

results in the product no longer being turkey meal;

               g.      adding or blending feather meal to chicken by-product meal results in the

product no longer being chicken by-product meal;

               h.      adding or blending feather meal to turkey by-product meal results in the

product no longer being turkey by-product meal;

               i.      a blended product consisting of feather meal and chicken by-product meal

is not chicken meal;

               j.      a blended product consisting of feather meal and chicken by-product meal

is not chicken meal (low ash);

               k.      a blended product consisting of feather meal and chicken by-product meal

(and/or turkey by-product meal) is not turkey meal;

               1.      a blended product consisting of feather meal and chicken by-product meal

is not chicken by-product meal.

      4.       As to the products and ingredients referenced in paragraphs 3.a through




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3.1, the pet food and feed industry generally made exceptions for trace amounts of expressly

excluded parts, which occur unavoidably in good manufacturing practices.

       5.      At all relevant times, the pet food industry considered chicken meal, low ash

chicken meal and turkey meal to be premium products and were typically more expensive to

purchase than by-product meals.

       6.      The pet food manufacturers used and relied upon Bills of La~ng ("BO Ls") and

Certificates of Analysis ("COAs") to identify ingredients and products shipped and received

from suppliers.

B.     Entities

       7.      American By-Products ("ABP") was a Texas corporation located in Rosser, Texas

and Dallas, Texas. ABP was a protein blender for the pet food industry that emphasized

marketing chicken meal and chicken by-product meal. ABP's blending facility in Rosser, Texas

("ABP-Rosser") was not a rendering facility. Instead, ABP-Rosser purchased its raw poultry

materials from rendering facilities and based its business model on its ability to grind, screen,

classify, blend, and stabilize animal proteins that needed to be processed. ABP owners and

shareholders included Defendant William Douglas "Doug" Haning and other Haning family

members.

       8.      Diversified Ingredients, Inc. ("Diversified Ingredients") is a Missouri corporation

located in Ballwin, Missouri, within the Eastern District of Missouri. Diversified Ingredients is a

commodities broker and distributor whose customers include a number of pet food companies

and manufacturers. From 2008 through 2014 and thereafter, Diversified Ingredients brokered

and distributed pet food products and ingredients from the facility in Rosser, Texas.

       9.      Wilbur-Ellis Company ("Wilbur-E111is") is a California LLC with headquarters in


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San Francisco, California. Wilbur-Ellis is an international marketer and distributor of

agricultural products, animal feed, and specialty chemicals and ingredients. On or about April

2011, Wilbur-Ellis purchased the assets of ABP, specifically the blending facility in Rosser,

Texas. At the time of the acquisition, Wilbur-Ellis identified the role of ABP owner DOUG

HANING in the operations of ABP-Rosser as follows:

       Doug Haning is the day to day man on the street. He is in charge of buying and
       selling. He also manages the logistics of the business. Doug is responsible for all
       of the marketing ofproducts and maintains the relationships with the customer and
       supplier base for the business.

       10.     Custom AG Commodities, LLC ("Custom AG") is a Texas company (and sole-

proprietorship) established on or about April 2011, with a physical address in Winnsboro, Texas

and a mailing address in Sulphur Springs, Texas. Custom AG served primarily to facilitate

transactions involving Wilbur-Ellis' newly acquired facility in Rosser, Texas (''WE-Rosser") and

Diversified Ingredients.

       11.     Pet Food Manufacturer "A" is a pet food manufacturer with a facility in

Mishawaka, Indiana. Between 2012 and May 2014, Pet Food Manufacturer "A" received

multiple adulterated shipments from Rosser, Texas, including adulterated shipments falsely

identified, labeled and branded as chicken meal, chicken meal (low ash), and turkey meal.

       12.     Pet Food Manufacturers "B-1" through "B-6" are pet food manufacturers

identified as "co-packers" and "co-manufacturers." Pet Food Manufacturers ''B-1" through "B-

6" contracted with Pet Food Manufacturer "B,'' a pet food company located in Wilton,

Connecticut, to manufacture and bag finished pet food products for Pet Food Manufacturer "B."

These co-manufacturers and co-packers included:

               a.     Pet Food Manufacturer "B-1" and its facility in Fairview, Kansas;

               b.     Pet Food Manufacturer "B-2" and its facility in Bern, Kansas;

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                c.     Pet Food Manufacturer "B-3" and its facility in Frontenac, Kansas;

                d.     Pet Food Manufacturer "B-4" and its facility in Hazel Township,

Pennsylvania;

                e.     Pet Food Manufacturer "B-5" and its facilities in Owatonna, Minnesota

and St. Marys, Ohio; and

                f.    · Pet Food Manufacturer "B-6" and its facility in Perham, Minnesota.

       13.      Between 2012 and May of 2014, Pet Food Manufacturer "B-1" through "B-6"

received multiple adulterated shipments from Rosser, Texas, including adulterated shipments

falsely identified, labeled and branded as chicken meal, chicken meal (low ash), and turkey meal.

       14.      From 2008 through October 2014, in the Eastern District of Missouri, and

elsewhere, the defendant,

                               WILLIAM DOUGLAS HANING,

and other persons known and unknown to the Grand Jury, devised and intended to devise a

scheme and artifice to defraud, and to obtain money and property by means of materially false

and fraudulent pretenses, representations, and promises, and for the purpose of executing the

scheme to defraud, carried out the scheme and the conspiracy in the manner and means as

follows:

II.    MANNER AND MEANS OF THE SCHEME AND THE CONSPIRACY

       15.      From at least 2008 and continuing through May of 2014, the facility in Rosser,

Texas, shipped poultry protein products to pet food manufacturers in the United States and

abroad. As part of a conspiracy and scheme and artifice to defraud, the facility in Rosser, Texas,

operating under the direction of WILLIAM DOUGLAS HANING (referred to herein as "DOUG

HANING"), and others, for the purpose of financial gain, regularly produced and shipped


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adulterated poultry products and ingredients and misrepresented the products and ingredients.

While corporate ownership of the Rosser, Texas facility changed over the course of the scheme

and conspiracy, DOUG HANING, at all relevant times, directed and participated in the scheme

and conspiracy with others. As part of the scheme and conspiracy and in furtherance of the

scheme and conspiracy, DOUG HANING, and others, shipped adulterated pet food ingredients

and products through the Eastern District of Missouri and elsewhere. As part of the scheme and

conspiracy and in furtherance of the scheme and conspiracy, DOUG HANING, and others,

shipped adulterated pet food ingredients and products through the Eastern District of Missouri

that included BOLs and COAs that misrepresented the products and ingredients. As part of the

scheme and conspiracy, and in furtherance of the scheme and conspiracy, DOUG HANING, and

others, negotiated and authorized the purchase of raw materials, such as feather meal, utilized in

adulterated pet food ingredients and products. As part of the scheme and conspiracy, and in

furtherance of the scheme and conspiracy, DOUG HANING, and others, utilized brokers and

distributors in the Eastern District of Missouri and elsewhere to ship and distribute adulterated

and misrepresented pet food ingredients and products.

A.     The role of adulteration and mislabeling/misbranding in the scheme to defraud and
       conspiracy

       16.     From before January 2008 through May of 2014, DOUG HANING, and others,

by and through ABP, Wilbur-Ellis, Diversified Ingredients and/or Custom AG, marketed and

sold chicken meal and low ash chicken meal from Rosser, Texas. However, the product shipped

from ABP-Rosser and WE-Rosser was an adulterated product that was mislabeled and

misbranded.

       17.     From May of2011 through May of2014, DOUG HANING, and others, by and

through Wilbur-Ellis, Diversified Ingredients and/or Custom AG, marketed and sold turkey meal

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from Rosser, Texas. However, the product shipped from WE-Rosser was an adulterated product

that was mislabeled and misbranded.

       18.      From before January 2008 through May of2014, DOUG HANING, and others,

by and through ABP, Wilbur-Ellis, Diversified Ingredients and/or Custom AG, marketed and

sold chicken by-product meal from Rosser, Texas. However, the product shipped from ABP-

Rosser and WE-Rosser was an adulterated product that was mislabeled and misbranded.

       19.      As part of the scheme to defraud and in furtherance of said scheme and the

conspiracy, DOUG HANING, and others, adulterated and misrepresented ingredients and

products, and in doing so:

                a.     omitted and caused to be omitted, in whole or in part, the raw material

ingredient chicken meal from premium pet food products an4 ingredients, specifically chicken

meal and chicken meal (low ash), that was shipped and supplied to pet food companies and

manufacturers from ABP-Rosser or WE-Rosser;

                b.     omitted and caused to be omitted, in whole or in part, the raw material

ingredient turkey meal from premium pet food products and ingredients, specifically turkey

meal, that was shipped and supplied to pet food companies and manufacturers from ABP-Rosser

or WE-Rosser;

                c.     substituted and caused to be substituted, in whole or in part, chicken by-

product meal for premium pet food products and ingredients, such as chicken meal, chicken meal

(low ash), and turkey meal, that was shipped and supplied to pet food companies and

manufacturers from ABP-Rosser or WE-Rosser;

                d.     substituted and caused to be substituted, in whole or in part, a "B-Grade"

poultry by-product meal (also referred to as chicken bone by-product meal) for premium pet food


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products and ingredients, such as chicken meal and turkey meal, that was shipped and supplied

to pet food companies and manufacturers from ABP-Rosser or WE-Rosser;

               e.     substituted and caused to be substituted, in whole or in part, turkey by-

product meal for premium pet food products and ingredients, such as turkey meal, that was

shipped and supplied to pet food companies and manufacturers from ABP-Rosser or WE-Rosser;

               f.     substituted and caused to be substituted, in whole or in part, hydrolyzed

poultry feathers (also referred to as feather meal) or hydrolyzed feather meal for premium pet

food products and ingredients, such as chicken meal, chicken meal (low ash), and turkey meal,

that was shipped and supplied to pet food companies and manufacturers from ABP-Rosser or

WE-Rosser;

               g.     mixed and blended and caused to be mixed and blended, chicken by-

product meal with one or more raw materials to make the products and ingredients shipped and

supplied to pet food companies and manufacturers from ABP-Rosser or WE-Rosser appear better

and of greater value than the product actually was;

               h.     mixed and blended and caused to be mixed and blended, turkey by-

product meal with one or more raw materials to make the products and ingredients shipped and

supplied to pet food compani.es and manufacturers from ABP-Rosser or WE-Rosser appear better

and of greater value than the product actually was;

               L      mixed an:d blended and caused to be mixed and blended, a "B-Grade"

poultry by-product meal (also referred to as chicken bone by-product meal) with one or more

raw materials to make' the products and ingredients shipped and supplied to pet food companies

and manufacturers from ABP-Rosser or WE-Rosser appear better and of greater value than the

product actually was; and


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                 j.     mixed and blended and caused to be mixed and blended, hydrolyzed

 poultry feathers and feather meal with one or more raw materials to make the products and

 ingredients shipped and supplied to pet food companies and manufacturers from ABP-Rosser or

 WE-Rosser appear better and of greater value than the product actually was.

 B.     Administrative and Regulatory Investigations of ABP-Rosser by the State of Texas

        20.      At all relevant times, the Texas Feed and Fertilizer Control Service ("TFFCS")

 operates under the direction of the Director of the Texas Agricultural Experiment Station ("TX

 Ag Station"). The TX Ag Station is an entity responsible for exercising the powers and

 performing the duties assigned to the TFFCS by the Texas Commercial Feed Control Act, Texas

 Agriculture Code (1981), Chapter 141. The Office of the Texas State Chemist ("OTSC") is also

 part of the TFFCS. As a licensed feed facility, ABP-Rosser was regulated by the TFFCS and the

 OTSC. Applicable regulations included prohibitions specific to the adulteration and mislabeling

 of ingredients used in pet foods.

                                                2007

        21.      On or about July 2007, TFFCS investigators inspected the ABP-Rosser facility.

 TFFCS investigators held discussions with the ABP-Rosser Quality Assurance Manager

 concerning the receipt and use of hydrolyzed feather meal in the facility. Specifically, a TFFCS

 Investigator, who had routinely checked incoming and outgoing ABP-Rosser records, noticed

 that the facility consistently received feather meal, but had never distributed products containing

 feather meal.

        22.      The Quality Assurance Manager, who at all relevant times reported to ABP

 ownership, including DOUG HANING, indicated to TFFCS investigators that ABP-Rosser used

 feather meal as "a proprietary secret." At that time, the Quality Assurance Manager represented


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 that the feather meal lowered the ash level of the chicken meal, thus providing a higher value

 ingredient, low ash chicken meal, for use in the pet food industry.

         23.    TFFCS Investigators advised the Quality Assurance Manager and one of the ABP

 owners that that practice was unacceptable.

         24.    The TFFCS informed the Quality Assurance Manager and the ABP owner that the

 mixing of two ingredients creates a blended product that cannot be labeled as an individual

 ingredient. The TFFCS Investigator consulted with the Quality Assurance Manager and assisted

 ABP-Rosser in creating an appropriate blended product label for the product actually being

 shipped.

         25.    The designated name for the blended product was "ABP Poultry Blend" and the

 ingredients required to appear on the label were "poultry by-product meal" and "hydrolyzed

 poultry feathers."

                                                 2008

        26.     A TFFCS Investigator visited the ABP-Rosser facility again in October 2008.

        27.     The TFFCS Investigator held discussions with the same ABP owner concerning

 the continued practice of blending feather meal into other ingredients (without identifying the

 product as a blend or identifying feather meal as an ingredient). The ABP owner stated that the

 practice was no longer occurring. The TFFCS Investigator, however, noted that there were no

 records of "ABP Poultry Blend" being marketed after the label was created. The TFFCS

 Investigator reiterated to ownership that mixing feather meal into other ingredients was not an

 acceptable practice, unless distributed as a blended product and appropriately labeled as a blend

 with the actual ingredient identified on the blend label.

        28.     A TFFCS audit conducted on or about November 4, 2008 confirmed the


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 continued use of feather meal by ABP-Rosser in its products and ingredients.

                                               2010

        29.    On or about May 12, 2010, OTSC auditors and investigators met with DOUG

 HANING and other owners and managers of ABP-Rosser. The OTSC investigators and auditors

 wanted to discuss an OTSC microscopic evaluation of ABP-Rosser's product(s) as well as an

 OTSC audit report. Both the evaluation and the audit confirmed the continued use of feather

meal in ABP-Rosser products and the regular distribution of adulterated, misbranded pet food

products and ingredients. An ABP-Rosser sales manager "alluded to the fact" that customers

requested ABP-Rosser put feather meal into their product, but wanted it labeled as a single

 ingredient product such as "chicken meal." In response, the OTSC told the owners and

managers of ABP-Rosser that they should not be involved in deceptive practices.

        30.    DOUG HANING and another manager then provided OTSC investigators access

to the ABP-Rosser plant for inspection. After inspecting the plant, the investigators concluded

that ABP-Rosser's routine practice was ''that everything that left the facility had feather meal in

it" and that ABP-Rosser products were adulterated and misbranded.

        31.    After seeing the blending equipment and the amount of feather meal at the ABP-

Rosser facility, the OTSC investigator ''was compelled to stop-sale/seize the low-ash chicken

meal based on reasonable cause by the agency and the supporting evidence from previous

microscopic evaluation of the product."

        32.    On or about May 12, 2010, the OTSC ultimately seized 33,720 lbs. (in 18 bulk

bags) oflow-ash chicken meal. The OTSC also collected samples of other ingredients for

additional evaluation. The cited grounds for the seizure was "FAILURE TO PROVIDE NON-

ADULTERATED PRODUCT; IMPROPERLY LABELED (MISBRANDED)."


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        33.     On May 17, 2010, ABP-Rosser provided a letter to the Office of the Texas State

 Chemist that stated the following:

        We wanted to submit the following plan to your office regarding use offeather
        meal. We feel that the safest and surest way to eliminate any hydrolyzed feather
        meal being in any product being sold from this plant is to discontinue purchasing
        hydrolyzed feather meal.
        AMERICAN BY-PRODUCTS, INC.
        William Haning

        34.     On June 2, 2010, the OTSC issued its "Report of Analysis for Commercial Feed"

 regarding the sample of ABP-Rosser's LOW ASH CHICKEN MEAL. The OTSC report also

 included the results of a microscopic examination. The report stated: "hydrolyzed and

 unhydrolyzed feathers found in sample (too many to count)." On the basis of the report, ABP-

 Rosser was informed that its "product is considered to be in violation of one or more provisions

 of the Texas Commercial Fertilizer Control Act, Chapter 63.142(a)."

        35.     Notwithstanding the above violation and ABP's representation that it would

 discontinue purchasing feather meal, shipping and purchasing records reflect that the Rosser,

 Texas facility continued to receive regular shipments of feather meal after May of 2010.

 C.     Wilbur-Ellis' acquisition of ABP-Rosser

        36.     On or about March 4, 2011, ABP and Wilbur-Ellis executed a "Letter of Intent"

 regarding the acquisition of ABP-Rosser by Wilbur-Ellis.

        37.     Prior to executing the Letter of Intent, Wilbur-Ellis had identified ABP-Rosser's

 customer base as follows:

        Customers. On the sales side of the business, ABP sells 13 different companies
        (all pet food), six ofwhich constitute about 75% of their sales.

        38.    Prior to executing the Letter of Intent, Wilbur-Ellis had identified the possible

 integration of ABP-Rosser as follows:


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        Integration and Management Plan. The Wilbur-Ellis Company logo and
        branding would be promptly initiated however the reporting structure at Rosser,
        TX will remain unchanged for the most part. The Hanings would continue their
        current roles in a post acquisition scenario.

                 The terms of the acquisition as reflected in the Letter of Intent

        39.     The March 4, 2011 Letter of Intent included the following provisions and terms:

                a.      Buyer would acquire all assets of the Seller relating to the production,

blending, distribution, and sale ofproteins,fats and oils to thepetfood, aquaculture and

 livestock industries (the "Business'');

                b.      The purchase price of the Assets, including working capital, would be (i)

Sixteen Million Dollars ($16,000,000), adjusted to reflect the difference between the Business'

average Net Working Capital over the past year, and the Business' Net Working Capital at the

date of closing; plus (ii) up to Nine Million Dollars ($9,000,000) in one or more Deferred

Payments as described below;

                c.      $9, 000, 000 of the purchase price would be paid over the three years

following closing, based on achievement of certain operating performance goals for the business

following closing;

                d.      Employment and Noncompetition Agreements. As a condition to Buyer's

obligation to purchase the Assets and in consideration of the payment of the Purchase Price to

Seller, (i) Seller and its shareholders shall enter into Noncompetition Agreements with Buyer

wherein they would agree not to compete in the pet food, aquaculture or livestock industries, or

to solicit customers or employees of the Business, for a period offive (5) years following the

closing, except for the following Employment Agreements.

                 DOUG HANING's employment agreement with Wilbur-Ellis

        40.     As part of the acquisition, DOUG HANING entered into an employment

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 agreement with Wilbur-Ellis.

        41.     The provisions of the EMPLOYMENT AGREEMENT included the following:

                a.       THIS AGREEMENT is made as ofApril 30, 2011 (the "Effective Date'')

 by and between Wilbur-Ellis Company, a California corporation (the "Employer"), and William

 D. (Doug) Haning (the "Employee'').

                b.       The Employee is one of the shareholders ofABP and is experienced in the

 Business.

                c.       Agreement for Employment. Subject to the closing of the transactions

 contemplated by the APA and this Agreement's terms and conditions, the Employer engages the

 Employee, and the Employee accepts employment as Operations Manager of the Employer's

 Rosser, Texas branch.

        42.     The asset purchase proceeded under the terms set forth above and included both the

 deferred payment incentive and an employment agreement as to DOUG HANING.

        43.     Thus, in addition to a salary and any applicable bonus, DOUG HANING and his

 family would be entitled to one or more deferred payments in an amount up to $9,000,000 if

 WE-Rosser's profitability remained consistent with the profitability of ABP-Rosser and met the

 yearly earn-out targets projected by Wilbur-Ellis.

 D.     The scheme to defraud and conspiracy as carried out after the acquisition of ABP
        by Wilbur-Ellis

        44.     DOUG HANING, and others, by and through Wilbur-Ellis, Custom AG and/or

Diversified Ingredients, marketed and sold single-ingredient premium pet food ingredients and

products, including chicken meal, chicken meal (low ash), and turkey meal, knowing the product

 shipped would be, and in fact was, adulterated and misrepresented to the recipient.

        45.     As part of the conspiracy and scheme to defraud, DOUG HANING, and others,

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 used one or more third parties who accepted contracts, purchase orders, invoices and other

 written communications from WE-Rosser identifying WE-Rosser products as blends, but

 provided WE-Rosser shipping documents, such as BOLs and COAs, that did not identify the

 WE-Rosser products as blends. In turn, as part of the scheme to defraud and the conspiracy,

 DOUG HANING, and others, would use single-ingredient BOLs and COAs with shipments

 known to be blends.

        46.     The products and ingredients DOUG HANING, and others, shipped and caused to

 be shipped from WE-Rosser were blended and adulterated by:

                a.     Adding, using and/or blending feathers and feather meal to the shipped

 product and ingredient when it was to be exclusive of feathers;

                b.     Adding, using and/or blending by-product meal to the shipped product and

 ingredient when it was to be exclusive of by-product;

                c.     Adding, using and and/or blending chicken protein products to the shipped

 product and ingredient when it was to be a turkey protein product.

        47.     The products and ingredients DOUG HANING, and others, shipped and caused to

 be shipped from the facility in Rosser, Texas, were mislabeled and misbranded and thus, such

 products and ingredients were misrepresented to the recipient. Documents associated with the

 shipment, such as a BOL or COA, identified the shipped product as a single ingredient product

 when, in fact, it was a blend. Typically, the blend formula for products shipped as chicken meal

 and chicken meal (low ash) was a blend of chicken by-product meal and feather meal (but not

 chicken meal). Typically, the blend formula for products shipped as turkey meal was a blend

 that included by-product meals and feather meal. Based on the cost of goods sold, blend

 formulas utilized in furtherance of the fraud and conspiracy ensured that a profit margin would


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be realized because the blended product was sold at the premium market price as if it were a

single ingredient product.

        48.     The raw ingredients purchased by WE-Rosser and used in the blended product

were generally cheaper than the single-ingredient, premium products identified on shipping

documents.

        49.     Generally, the raw ingredients used in the blended product were readily available

to WE-Rosser from its suppliers in comparison to single-ingredient, premium products such as

chicken meal and turkey meal. Thus, WE-Rosser realized a significant profit on adulterated

shipments. Because WE-Rosser blended cheaper and more readily available raw ingredients,

WE-Rosser also had the ability to enter into high volume, long-term agreements and contracts

confident they would have a predictable supply of raw materials. Moreover, the concealment of

its blending practices afforded WE-Rosser the ability to manipulate blend formulas based upon

market circumstances and profit objectives.

        50.    In addition, over the course of the scheme and conspiracy, certain pet food

manufacturers, including Pet Food Manufacturer "A" and Pet Food Manufacturer '~B," had

emerged in the pet food market and built their business model by marketing their products as free

of certain ingredients.

       51.     DOUG HANING, and others, knew that certain pet food manufacturers were not

in the market for products or ingredients typically used in the blended products shipped from WE-

Rosser, such as feather meal and poultry by-products.

       52.     By avoiding the identification of the product as a blend in the associated shipping

documents, including BOLs and COAs, DOUG HANING, and others, were able to conceal the

actual ingredients contained in the products shipped, such as feather meal and by-products, and


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 secure, maintain, and grow business that would otherwise have been unavailable.

          53.   Because shipped WE-Rosser products were not identified as a blend and because

 the actual ingredients were concealed, the recipients of WE-Rosser products (including Pet Food

Manufacturer "A" and Pet Food Manufacturers "B-1" through "B-6") accepted shipments they

would not have otherwise accepted but for the fraud.

          54.   Ultimately, pet food manufacturers, including Pet Food Manufacturer "A" and Pet

Food Manufacturer "B," ended up paying the market price for a premium, single-ingredient

product, such as chicken meal, chicken meal (low ash), or turkey meal, when they actually

received a blended product comprised of non-premium ingredients.

E.        The introduction of Custom AG as a straw broker in furtherance of the conspiracy
          and scheme to defraud

          55.   Prior to April 2011, Custom AG was not in existence as an entity recognized by

the State of Texas. Prior to April 2011, neither Custom AG nor Custom AG's nominal owner,

had contracted with ABP or Diversified Ingredients. Prior to April 2011, neither Custom AG nor

Custom AG's nominal owner, had brokered or otherwise bought or sold animal protein products

for pet food companies.

          56.   Custom AG was not identified as a customer of ABP until May 1, 2011, when it

was added to the original customer list.

          57.   As of April 30, 2011, Custom AG was not in Diversified Ingredients' system as a

seller.

          58.   On or about July 2011, Custom AG identified only two trade references in support

of obtaining a line of credit with Wilbur-Ellis. The identified trade references were ABP and

Diversified Ingredients.

          59.   At all times material, the nominal owner of Custom AG was an associate of

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 DOUG HANING, and DOUG HANING shared in the profits of Custom AG. At all times

material, DOUG HANING, in whole or part, directed the buying and selling decisions, as well as

the operations of Custom AG. DOUG HANING purposely concealed his interest in Custom AG

 from others.

        60.     In furtherance of the scheme to defraud and the conspiracy, and as a result of the

 execution of the scheme to defraud, in 2012, 2013, and the first two quarters of2014, Custom

AG constituted the single largest purchaser of WE-Rosser products by sales and volume. Any

products Custom AG bought from WE-Rosser during this time frame were sold to Diversified

Ingredients. Pet Food Manufacturer "B-1" through "B-6" received adulterated shipments arising

from initial purchases involving Custom AG and Diversified Ingredients. Pet Food

Manufacturer "A" received adulterated shipments arising from initial purchases involving

Custom AG and Diversified fugredients.

        61.     Most, if not all, products from WE-Rosser involving Custom AG were blended

and adulterated when shipped. Most, if not all, products from WE-Rosser involving Custom AG

were shipped from WE-Rosser with BOLs and/or COAs that misrepresented the product as a

single ingredient, premium product.

F.      The use of Diversified Ingredients' BOLs and COAs in furtherance of the scheme to
        defraud and conspiracy

        62.     Pet Food Manufacturer "B" was a Diversified fugredients' customer. On behalf

of Pet Food Manufacturer "B," Diversified fugredients contracted with carriers to ship products

and ingredients from WE-Rosser to Pet Food Manufacturers "B-1" through "B-6."

        63.     Pet Food Manufacturer "A" was also a Diversified fugredients' customer. On

behalf of Pet Food Manufacturer "A," Diversified fugredients contracted with carriers to ship

certain products and ingredients from WE-Rosser to Pet Food Manufacturer "A."

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       64.     Diversified Ingredients, however, did not directly purchase from Wilbur-Ellis the

products and ingredients shipped from WE-Rosser to Pet Food Manufacturers "B-1" through "B-

6." Diversified Ingredients also did not directly purchase from Wilbur-Ellis certain products and

ingredients shipped to Pet Food Manufacturer "B-1" through "B-6."

       65.     Instead, such products and ingredients involved initial paper transactions and

sales with Custom AG. In the paperwork with Custom AG, Wilbur-Ellis referred to certain

products purchased by Custom AG from WE-Rosser as a blend. The purchase orders and

invoices between Custom AG and Diversified Ingredients also referred to certain WE-Rosser

products as a "blend," such as "chicken meal blend," "chicken meal blend low ash" and "turkey

meal blend."

       66.     While certain exchanged paperwork identified products as a blend, Diversified

Ingredients provided BO Ls and COAs to WE-Rosser that did not identify the product as a blend.

Instead, the shipping documents that traveled with the product, including BOLs and COAs, used

the single-ingredient names, i.e., chicken meal, chicken meal low ash, and turkey meal.

       67.     While WE-Rosser created and maintained their own internal documents that

identified the shipped products as blended products, DOUG HANING, and others, used shipping

documents provided by Diversified Ingredients knowing that the use of those documents would

misrepresent what was actually being shipped from WE-Rosser.

       68.     DOUG HANING, and others, agreed to use, and did, in fact, use the BOLs and

COAs provided by Diversified Ingredients with shipments of blended products knowing that

WE-Rosser was shipping a blended product and that the ingredients involved in the blend,

specifically by-products and feather meal, were to be excluded from the product identified and

shipped.


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G.         Direct sales of adulterated and mislabeled products and ingredients from WE-
           Rosser

           69.   WILBUR-ELLIS sold products and ingredients for use in pet food products.

Those sales included direct sales by WILBUR-ELLIS to pet food companies and manufacturers.

           70.   In addition to the sales and shipments identified above involving Custom AG

and/or Diversified Ingredients, WILBUR-ELLIS directly marketed and sold products and

ingredients to pet food manufacturers, including Pet Food Manufacturer "A," that were shipped

from WE-Rosser.

           71.   As part of the scheme and in furtherance of the scheme and conspiracy, DOUG

HANING, and others, caused WE-Rosser to ship adulterated and mislabeled products and

ingredients, including chicken meal (low ash), that Pet Food Manufacturer "A" purchased

directly from WILBUR-ELLIS.

III.       USE OF THE MAIL AND COMMERCIAL INTERSTATE CARRIERS IN
           FURTHERANCE OF THE SCHEME TO DEFRAUD AND THE CONSPIRACY

           72.   On or about the dates listed below, within the Eastern District of Missouri, and

elsewhere, for the purpose of executing and attempting to execute the scheme to defraud, and in

furtherance of the conspiracy DOUG HANING, and others known and unknown to the Grand

Jury, did mail, caused to be mailed, and caused to be delivered by mail matters and things, to wit,

checks and payments, and did deposit and caused to be deposited matters and things, to wit,

checks, BO Ls, COAs, and products to be sent and delivered by private and commercial interstate

carrier:

 Date                          Check no.                  Destination
 February 8, 2013              0099873                    Los Angeles, CA
 October 3, 2013               0108688                    Sulphur Springs, TX
 February 20, 2014             0113938                    Sulphur Springs, TX
 March 26, 2014                0115207                    Los Angeles, CA


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 Date                               BOL no. for                Destination
              '                     adulterated shipment
 March 21, 2014                     39277•                     Mishawaka, IN
 April4,2014                        39372                      Mishawaka, IN
 April 29, 2014                     39586                      Mishawaka, IN

IV.     USE OF INTERSTATE WIRES IN FURTHERANCE OF THE SCHEME TO
        DEFRAUD AND THE CONSPIRACY

        73.       In furtherance of the scheme and the conspiracy, and for the purpose of executing

the aforementioned scheme and artifice to defraud, and attempting to do so, DOUG HANING,

and others, did lmowingly transmit and cause to be transmitted, by means of wire, radio, and

television communication, writings, signals, pictures, and sounds in interstate and foreign

commerce for the purposes of executing such scheme and artifice, as set forth below:

                  a.          Emails to and from the Eastern District of Missouri and elsewhere and to

and from Rosser, Texas, including emails that included and/or pertained to:

                         i.          contracts, purchase orders and agreements for WE-Rosser

products;

                        11.          BOLs and COAs for shipments of WE-Rosser products;

                       111.          shipping schedules for WE-Rosser products; and

                       iv.           invoices for products shipped from WE-Rosser.

                  b.          Additional emails sent as part of the scheme and in furtherance of the

scheme included:

                         1.          on or about February 2009, an email was sent from the Eastern

District of Missouri to a Georgia-based customer of Diversified Ingredients and recipient of a

poultry product from ABP-Rosser. The email included an attachment identified as "Diversified

Statement" consisting of a letter from ABP-Rosser provided to Diversified Ingredients by DOUG

HANING. The email states, in part: This is a letter that [a Diversified Ingredient employee}
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requested from American Byproducts in an effort to get something from them that indicates that

they did not adulterate the product or put any feathers into it.

                     IL           On or about June 19, 2012, an email was sent from a Wilbur-Ellis

inventory specialist that describes the raw material formula used at WE-Rosser. The email was

subsequently forwarded to WE-Rosser in Texas. The email states: For Regular loads our blend

is 25% Feather Meal, 25% PBM (Hole 1) and 50% PBM (Bin 2); and for Low Ash loads the

blend is 25% Feather Meal and 75% (Bin 2).

                    iii.          On or about October 16, 2012, an email was sent from a Wilbur-

Ellis employee to another Wilbur-Ellis employee. The email states: Doug asked me to provide

you with the following information: On the turkey meal contract with DI, our margin for bulk

loads is around 20%. On the low ash chicken meal contract, our margin has been 18. 09% for a

low and 45.14%for a high. The usual margin is around 30%.

                    iv.           On or about October 18, 2012, an email was sent from a Wilbur-

Ellis inventory specialist to DOUG HANING, and others. The email states:

                          Doug, we are trying to use the cost associated with the physical products
                          that are used. That being said, we have run out of B grade product and
                          are forced to use more A grade and less Feather meal in order to make
                          regular chicken meal loads. This has caused the cost to jump significantly
                          and thus has affected the margins accordingly.

                       Previously, we were using a blend for Regular loads of
                       Feather - 29%
                       Agrade-42%
                       B grade-29%

                          Since we have run out ofB Grade the blend had to be changed to:

                       Feather-14%
                       Agrade-86%

                           Thus the increase in cost and decrease in Margin.


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                     v.           On or about February 20, 2013, emails were exchanged to and

from Rosser, Texas, and Ballwin, Missouri, regarding products referred to by the WE-Rosser

Quality Assurance Manager as "Turkey Meal Blend," "Chicken Meal Blend," and "Low Ash

Chicken Meal Blend" and the agreed to use of a COA form that did not identify the product as a

''blend" and would match the BOL being used for shipments.

                     vi.          On or about March 14, 2014, an email communication from a

Wilbur-Ellis employee in the State of Washington to DOUG HANING in Texas which stated:

Doug, I noticed we are shipping a blend ofPBM and Feather to [Pet food Manufacturer "A '1

against a chicken meal contract?

       74.      Adulterated and misrepresented shipments occurred on a weekly, if not daily,

basis from WE-Rosser. Those adulterated and misrepresented shipments included the following:

                a.         On or about January 2, 2014, a shipment, with an approximate weight of

48,340 pounds, from Rosser, Texas, of an animal protein product and ingredient for pet food

which was falsely labeled as "Chicken Meal," when in fact the product and ingredient was not

the premium pet food product and ingredient chicken meal but an adulterated mix and blend of

hydrolyzed poultry feathers, poultry by-product meal and chicken by-product meal that omitted

chicken meal;

                b.         On or about March 21, 2014, a shipment, with an approximate weight of

50,200 pounds, from Rosser, Texas, of an animal protein product and ingredient for pet food

which was falsely labeled as "Turkey Meal," when in fact the product and ingredient was not the

premium pet food product and ingredient turkey meal but an adulterated mix and blend of

hydrolyzed poultry feathers, chicken bone by-product meal, chicken by-product meal and turkey

by-product meal that omitted turkey meal;


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               c.      On or about March 21, 2014, a shipment, with an approximate weight of

50,840 pounds, from Rosser, Texas, transported through the Eastern District of Missouri, of an

animal protein product and ingredient for pet food which was falsely labeled as "Chicken Meal

(Low Ash)," when in fact the product and ingredient was not the premium pet food product and

ingredient chicken meal but an adulterated mix and blend of hydrolyzed poultry feathers and

chicken by-product meal that omitted chicken meal; and

               d.      On or about April 4, 2014, a shipment, with an approximate weight of

50,080 pounds, from Rosser, Texas, transported through the Eastern District of Missouri, of an

animal protein product and ingredient for pet food which was falsely labeled as "Chicken Meal

(Low Ash)," when in fact the product and ingredient was not the premium pet food product and

ingredient chicken meal but an adulterated mix and blend of hydrolyzed poultry feathers and

chicken by-product meal that omitted chicken meal.

V.     DOUG HANING'S GAIN FROM THE SCHEME TO DEFRAUD AND
       CONSPIRACY

       75.      In furtherance of the scheme to defraud and conspiracy in execution of the same,

DOUG HANING realized a financial gain from the practice of blending and adulteration.

       76.     As a blending facility, the profit to be gained by buying a raw material, such as

chicken meal, at market price from a raw material supplier/renderer and then selling essentially

the same product at market price would be minimal.

       77.     By contrast, the profit margin associated with buying readily available, non-

premium products, such as chicken by-product meal and feather meal, and then blending those

raw materials together and selling the blended product at a price associated with less-readily

available, premium products would be and, in fact, was significant.

       78.     Thus, the adulteration and misrepresentations made WE-Rosser profitable over

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the course of the scheme to defraud and triggered the deferred payment or "earn-out" provisions

agreed to as part of the sale of ABP-Rosser.

       79.       The deferred payment "earn-out" targets for WE-Rosser would not have been

satisfied absent the margins and profits fraudulently created and realized through the practice of

adulteration and mislabeling/misbranding.

       80.       On or about February 28, 2013, as a result of the scheme and the conspiracy, a

wire transfer in the amount of $4,608,414 was sent reflecting a deferred payment for the benefit

of DOUG HANING, and others, pursuant to the terms of the earn-out agreement.

       81.       On or about March 24, 2014, as a result of the scheme and the conspiracy, a wire

transfer in the amount of $4,391,586 was sent reflecting a deferred payment for the benefit of

DOUG HANING, and others, pursuant to the terms of the earn-out agreement.

       82.     In addition, between July 2011, and May 2014, DOUG HANING received cash

and other indirect payments from Custom AG derived from the sales of WE-Rosser products that

were adulterated and misrepresented when shipped. Those indirect payments included the

following checks payable to a DOUG HANING family member from Custom AG:

                 a.     Custom AG Commodities check dated January 23, 2012 in the amount of

$5,050.00; and

               b.       Custom AG Commodities check dated on or about April 11, 2014 in the

amount of $19,200.00.

                                          Use of the Wires

       83.       On or about the dates specified as to each count below, in the Eastern District of ·

Missouri and elsewhere, for the purpose of executing the aforesaid scheme and artifice to

defraud, and attempting to do so,


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                                    WILLIAM DOUGLAS HANING,

      did knowingly transmit and cause to be transmitted, by means of wire, radio, and television

      communication, writings, signals, pictures, and sounds in interstate and foreign commerce for the

      purposes of executing such scheme and artifice, as set forth below:

Count        Approximate Date              Type of Wire           Subject of Wire Communication
                                           Communication
2            February 20, 2013             email                  Diversified Certificate of Analysis.doc
3            February 28, 2013             email                  Schedule week of 3/14
4            March 6, 2013                 email                  BOLCAC2155
5            March 6, 2013                 email                  CAC2162
6            March 6, 2013                 email                  CAC4046
7            March 6, 2013                 email                  CAC4047
8            March 6, 2013                 email                  CAC4045
9            March 6, 2013                 email                  CAC2153
10           March 7, 2013                 email                  BOLCAC2157
11           March 7, 2013                 email                  BOLCAC2151
12           March 7, 2013                 email                  Revised schedule for week of 3/4/13
13           March 7, 2013                 email                  CAC3062
14           May 31, 2013                  email                  Rosser Schedule
15           June 27, 2013                 email                  FW: questionnaire signed
16           July 12, 2013                 email                  FW: Schedule week of7-15-13
17           July 24, 2013                 email                  FW: REVISED SCHEDULE week of7-22
18.          August 1, 2013                email                  Schedule for week of 8-6-13
19           August 21, 2013               email                  RE: Mishawaka turkey meal
20           September 12, 2013            email                  COA 9/11/2013
21           December 3, 2013              email                  weights and ETAs
22           December 5, 2013              email                  FW: Updated schedule week of 12/9
23           December 13, 2013             email                  weights and ETAs
24           January 2, 2014               email                  weights and ETAs
25           January 14, 2014              email                  FW: Revised SCHEDULE WEEK OF 1/13
26           February 5, 2014              email                  INVOICES FROM WILBUR ELLIS
27           March 19, 2014                email                  weights and ETAs
28           April 15, 2014                email                  weights and ETAs
29           April 23, 2014                email                  BOLCAC2212
30           April 28, 2014                email                  weights and ETAs
31           April 29, 2014                email                  BOL CAC2240 ADD ON FOR FRIDAY


             All in violation of Title 18, United States Code, Sections 1343 and 2.



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                                FORFEITURE ALLEGATION

The Grand Jury further finds by probable cause that:

       1.      Pursuant to Title 18, United States Code, Section 981(a) and Title 28, United

States Code, Section 2461(c), upon conviction of an offense in violation of Title 18, United

States Code, Sections 1343 or 1349 as set forth in this Indictment, the defendant(s) shall forfeit

to the United States of America any property, real or personal, constituting or derived from any

proceeds traceable to such violation(s).

       2.      Subject to forfeiture is a sum of money equal to the total value of any property,

real or personal, constituting or derived from any proceeds traceable to such violation(s).

       3.      Specific property subject to forfoiture includes, but is not limited to, the

following:

               a.      Approximately 2,705.08 acres ofranch land known as "Living the Dream

                       Ranch" f/k/a "Cactus Ranch," which is comprised of approximately

                       1,129.93 acres in McMullen County, Texas, and approximately 1,575.15

                       acres in Live Oak County, Texas, and is situated just north of the southeast

                       comer of said McMullen County and the southwest comer of said Live

                       Oak County, together with all appurtenances, improvements, and

                       attachments thereon.

       4.    If any of the property described above, as a result of any act or omission of the

defendant:

               a.      cannot be located upon the exercise of due diligence;

               b.      has been transferred or sold to, or deposited with, a third party;

               c.      has been placed beyond the jurisdiction of the court;


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               d.     has been substantially diminished in value; or

               e.     has been commingled with other property which cannot be divided without

                      difficulty,

the United States of America will be entitled to the forfeiture of substitute property pursuant to

Title 21, United States Code, Section 853(p).

                                                     A TRUE BILL.



                                                     FOREPERSON


JEFFERSON SESSIONS
United States Attorney General
TJMOTHY GARRISON
United States Attorney
WESTERN DISTRICT OF MISSOURI




GILBERT C. SISON, #52346MO
Special Attorney to the United States Attorney General




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